        Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 1 of 60



1    KRONENBERGER ROSENFELD, LLP
     Karl S. Kronenberger (Bar No. 226112)
2    Kelly Mulcahy (Bar No. 305472)
     548 Market Street, #85399
3    San Francisco, CA 94104
4    Telephone: (415) 955-1155
     Facsimile: (415) 955-1158
5    karl@kr.law
     kelly@kr.law
6
     Attorneys for Plaintiff
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                                 UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14   VICIOUS BRANDS, INC. dba SAINTS &           Case No. 3:24-cv-04996-LJC
15   SINNERS HAIRCARE, a Nevada
     corporation,                                DELCARATION OF KARL S.
16                                               KRONENBERGER IN SUPPORT OF
                   Plaintiff,                    PLAINTIFF’S OPPOSITION TO
17                                               DEFENDANTS’ MOTION TO DISMISS
            v.                                   COMPLAINT FOR LACK OF
18                                               PERSONAL JURISDICTION AND
19   HOLLY CUTLER, an individual, THE SKIN       IMPROPER VENUE
     SAINT, LLC, a Michigan limited liability
20   company, FACE CO., LLC, a Michigan          Date:    November 12, 2024
     limited liability company,                  Time:    10:30 a.m.
21                                               Ct:      Courtroom G
                   Defendants.                   Judge:   Hon. Lisa J. Cisneros
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     Case No. 3:24-cv-04996-LJC                    DECL. OF K. KRONENBERGER ISO OF
                                                   PLA’S OPP. TO DEFS’ MTN TO DISMISS
        Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 2 of 60



1           I, Karl S. Kronenberger, declare as follows:

2           1.     I am an attorney admitted to practice in the State of California and the

3    United States District Court for the Northern District of California. I am a partner at the

4    law firm of Kronenberger Rosenfeld, LLP, counsel of record for Plaintiff Vicious Brands,

5    Inc. dba Saints & Sinners Haircare. Unless otherwise stated, I have personal knowledge

6    of the matters stated herein, and if called to testify, could and would do so competently.

7           2.     Attached hereto as Exhibit A is a true and correct screenshot taken from

8    the website https://theskinsaint.com/. Exhibit A identifies The Skin Saint, LLC as the

9    owner of the website. My office captured Exhibit A using the GoFullPage browser
10   extension on Google Chrome on October 11, 2024.

11          3.     On October 31, 2022, Defendant Face Co. filed an “in-use” trademark

12   application, Serial No. 97/655,815 (the “’815 Application”), with the United States Patent

13   and Trademark Office (“USPTO”) for the allegedly infringing double S mark (the

14   “Infringing Double S Mark”). A true and correct copy of the trademark application for

15   federal registration of the Infringing Double S Mark, which my office downloaded from the

16   USPTO’s website on October 10, 2024, is attached hereto as Exhibit B.

17          4.     On January 24, 2023, Face Co. purported to assign all of its rights, title and

18   interest in the Infringing Double S Mark and the ‘815 Application to Defendant Holly

19   Cutler. A true and correct copy of the Trademark Assignment Cover Sheet and

20   Trademark Assignment Agreement, which my office downloaded from the USPTO’s

21   website on October 10, 2024, is attached hereto as Exhibit C.

22          5.     On September 19, 2023, the ‘815 Application was published for opposition

23   in the Official Gazette. A true and correct copy of the Official USPTO Notice of

24   Publication, which my office downloaded from the USPTO’s website on October 10,

25   2024, is attached hereto as Exhibit D.

26          6.     On January 17, 2024, Saints & Sinners initiated an opposition proceeding
27   against the ‘815 Application with the Trademark Trial and Appeal Board, alleging

28   likelihood of confusion with Plaintiff’s SS Mark.
     Case No. 3:24-cv-04996-LJC                            DECL. OF K. KRONENBERGER ISO OF
                                                 1         PLA’S OPP. TO DEFS’ MTN TO DISMISS
       Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 3 of 60



1            7.      As part of the opposition proceeding, Defendant Holly Cutler was deposed

2    on July 26, 2024.

3            8.      On July 31, 2024, Defendant Holly Cutler purported to assign all of her

4    rights, title, and interest in the Infringing Double S Mark and the ‘815 Application to

5    Defendant The Skin Saint, LLC. This purported assignment was filed and recorded with

6    the USPTO on August 7, 2024. A true and correct copy of the Trademark Assignment

7    Cover Sheet and Trademark Assignment Agreement, which my office downloaded from

8    the USPTO’s website on October 11, 2024, is attached hereto as Exhibit E.

9            9.      The      websites       located       at        https://theskinsaint.com/       and
10   https://www.facebeautyscience.com/ are fully interactive. These websites are generally

11   available to consumers in California, and they prominently display the Infringing Double S

12   Mark. Attached hereto as Exhibit F are true and correct screenshots taken from both

13   websites in California, which my office took using the GoFullPage browser extension on

14   Google Chrome on October 10, 2024.

15           10.     On     March   8,   2024,   my    office    visited   the   website   located    at

16   https://www.facebeautyscience.com/ and sought to make a purchase; my office was then

17   redirected to https://theskinsaint.com/ and completed a test purchase for delivery in

18   California. On March 15, 2024, my office received delivery of that product in California.

19   Thus,        through    the    websites     located        at    https://theskinsaint.com/      and

20   https://www.facebeautyscience.com/, customers in California can purchase products

21   bearing the Infringing Double S Mark for delivery in California.

22           11.     A true and correct copy of Table C-5 – U.S. District Courts – Civil Statistical

23   Tables for the Federal Judiciary, which my office downloaded on October 7, 2024 is

24   attached hereto as Exhibit G, and was downloaded from the following URL:

25      •    https://www.uscourts.gov/statistics-reports/caseload-statistics-data-tables

26           I declare under penalty of perjury under the laws of the United States of America
27   that the foregoing is true and correct that this declaration was executed on October 11,

28   2024 in San Francisco, California.
     Case No. 3:24-cv-04996-LJC                             DECL. OF K. KRONENBERGER ISO OF
                                                  2         PLA’S OPP. TO DEFS’ MTN TO DISMISS
       Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 4 of 60



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                                             By: s/ Karl S. Kronenberger
2                                                   Karl S. Kronenberger
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     Case No. 3:24-cv-04996-LJC                   DECL. OF K. KRONENBERGER ISO OF
                                         3        PLA’S OPP. TO DEFS’ MTN TO DISMISS
Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 5 of 60




                     Exhibit A
Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 6 of 60
Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 7 of 60
Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 8 of 60




                     Exhibit B
                                      Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 9 of 60


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U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                               Trademark/Service Mark Application, Principal Register
                                                                                                TEAS Plus Application
                                                                                                         Serial Number: 97655815
                                                                                                         Filing Date: 10/31/2022

    NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                                under the facts of the particular application.




                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                       Entered
              TEAS Plus                                                                                                            YES
              MARK INFORMATION
                                                                                                                                   \\TICRS\EXPORT18\IMAGEOUT
              *MARK
                                                                                                                                   18\976\558\97655815\xml1 \ FTK0002.JPG
              *SPECIAL FORM                                                                                                        YES
              USPTO-GENERATED IMAGE                                                                                                NO
              LITERAL ELEMENT                                                                                                      SS
              *COLOR MARK                                                                                                          NO
              *COLOR(S) CLAIMED
              (If applicable)

              *DESCRIPTION OF THE MARK
                                                                                                                                   The mark consists of Stylized 'SS' connected vertically.
              (and Color Location, if applicable)

              PIXEL COUNT ACCEPTABLE                                                                                               YES
              PIXEL COUNT                                                                                                          572 x 304
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       FACE CO.
              *MAILING ADDRESS                                                                                                     31350 Telegraph Rd., Suite 102
              *CITY                                                                                                                Bingham Farms
              *STATE
              (Required for U.S. applicants)
                                                                                                                                   Michigan

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
                                                                                                                                   48025
              (Required for U.S. and certain international addresses)

              *EMAIL ADDRESS                                                                                                       XXXX
              LEGAL ENTITY INFORMATION
              *TYPE                                                                                                                LIMITED LIABILITY COMPANY
              * STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY
                                                                                                                                   Michigan
          Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 10 of 60

WHERE LEGALLY ORGANIZED

GOODS AND/OR SERVICES AND BASIS INFORMATION
* INTERNATIONAL CLASS                      003
*IDENTIFICATION                            Anti-aging cleanser
*FILING BASIS                              SECTION 1(a)
   FIRST USE ANYWHERE DATE                 At least as early as 02/00/2017
   FIRST USE IN COMMERCE DATE              At least as early as 02/00/2017

   SPECIMEN                                \\TICRS\EXPORT18\IMAGEOUT
   FILE NAME(S)                            18\976\558\97655815\xml1 \ FTK0003.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\976\558\97655815\xml1 \ FTK0004.JPG
                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\976\558\97655815\xml1 \ FTK0005.JPG
                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\976\558\97655815\xml1 \ FTK0006.JPG
   SPECIMEN DESCRIPTION                    Screenshots of website showing use of mark in commerce.
                                           https://theskinsaint.com/collections/new/products/clarity-3-
   WEBPAGE URL
                                           in-1-moisturizer-1
   WEBPAGE DATE OF ACCESS                  10/31/2022
   WEBPAGE URL                             https://theskinsaint.com/collections/austin-creams-new
   WEBPAGE DATE OF ACCESS                  10/31/2022
   WEBPAGE URL                             https://theskinsaint.com/
   WEBPAGE DATE OF ACCESS                  10/31/2022
                                           https://theskinsaint.com/collections/austin-creams-
   WEBPAGE URL
                                           new/products/miracle-marine-cream
   WEBPAGE DATE OF ACCESS                  10/31/2022
* INTERNATIONAL CLASS                      003
                                           Anti-aging moisturizer; Anti-aging toner; Anti-aging creams;
                                           Non-medicated anti-aging serum; Non-medicated cleansers,
                                           namely, skin cleansers, facial cleansers, skin toner, skin
*IDENTIFICATION
                                           exfoliant, skin creams, skin serums; Non-medicated skin care
                                           preparations; Skin cleansers; Wrinkle removing skin care
                                           preparations
*FILING BASIS                              SECTION 1(a)
   FIRST USE ANYWHERE DATE                 At least as early as 02/00/2017
   FIRST USE IN COMMERCE DATE              At least as early as 02/00/2017

   SPECIMEN                                \\TICRS\EXPORT18\IMAGEOUT
   FILE NAME(S)                            18\976\558\97655815\xml1 \ FTK0003.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\976\558\97655815\xml1 \ FTK0004.JPG
   SPECIMEN DESCRIPTION                    Screenshots of website showing use of mark in commerce.
                                           https://theskinsaint.com/collections/new/products/clarity-3-
   WEBPAGE URL
                                           in-1-moisturizer-1
          Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 11 of 60


   WEBPAGE DATE OF ACCESS                  10/31/2022
   WEBPAGE URL                             https://theskinsaint.com/collections/austin-creams-new
   WEBPAGE DATE OF ACCESS                  10/31/2022
   WEBPAGE URL                             https://theskinsaint.com/
   WEBPAGE DATE OF ACCESS                  10/31/2022
                                           https://theskinsaint.com/collections/austin-creams-
   WEBPAGE URL
                                           new/products/miracle-marine-cream
   WEBPAGE DATE OF ACCESS                  10/31/2022
* INTERNATIONAL CLASS                      005
                                           Acne medications; Acne treatment preparations; Medicated
                                           moisturizers; Medicated skin care preparations, namely,
*IDENTIFICATION                            creams, lotions, gels, toners, cleaners and peels; Medicated
                                           skin preparation for use in treating pigmentation; Medicated a
                                           nti-aging moisturizers
*FILING BASIS                              SECTION 1(a)
   FIRST USE ANYWHERE DATE                 At least as early as 02/00/2017
   FIRST USE IN COMMERCE DATE              At least as early as 02/00/2017

   SPECIMEN                                \\TICRS\EXPORT18\IMAGEOUT
   FILE NAME(S)                            18\976\558\97655815\xml1 \ FTK0007.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\976\558\97655815\xml1 \ FTK0008.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\976\558\97655815\xml1 \ FTK0009.JPG

                                           \\TICRS\EXPORT18\IMAGEOUT
                                           18\976\558\97655815\xml1 \ FTK0010.JPG
   SPECIMEN DESCRIPTION                    Screenshots of website showing use of mark in commerce.
                                           https://theskinsaint.com/collections/austin-creams-
   WEBPAGE URL
                                           new/products/miracle-marine-cream
   WEBPAGE DATE OF ACCESS                  10/31/2022
   WEBPAGE URL                             https://theskinsaint.com/collections/new
   WEBPAGE DATE OF ACCESS                  10/31/2022
                                           https://theskinsaint.com/collections/austin-creams-
   WEBPAGE URL
                                           new/products/clarity-3-in-1-moisturizer-1
   WEBPAGE DATE OF ACCESS                  10/31/2022
   WEBPAGE URL                             https://theskinsaint.com/
   WEBPAGE DATE OF ACCESS                  10/31/2022
* INTERNATIONAL CLASS                      044
                                           Beauty consultation services; Beauty consultation services in
                                           the selection and use of cosmetics, fragrances, beauty aids,
                                           personal care products, and bath, body and beauty products;
                                           Consulting services in the field of health; Consulting services
*IDENTIFICATION                            in the field of healthcare; Cosmetic skin care services; Laser
                                           skin rejuvenation services; Medical skin care services;
                                           Providing medical information, consultancy and advisory
            Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 12 of 60


                                                services; Skin care salons; Wellness and health-related
                                                consulting services
*FILING BASIS                                   SECTION 1(a)
   FIRST USE ANYWHERE DATE                      At least as early as 02/00/2017
   FIRST USE IN COMMERCE DATE                   At least as early as 02/00/2017

   SPECIMEN                                     \\TICRS\EXPORT18\IMAGEOUT
   FILE NAME(S)                                 18\976\558\97655815\xml1 \ FTK0011.JPG
   SPECIMEN DESCRIPTION                         Screenshot of website showing use of mark in commerce.
   WEBPAGE URL                                  https://www.facebeautyscience.com/the-skin-saint
   WEBPAGE DATE OF ACCESS                       10/31/2022
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION
(if applicable)

*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                            Michael Bartholomew
ATTORNEY DOCKET NUMBER                          4192.3.40
ATTORNEY BAR MEMBERSHIP NUMBER                  XXX
YEAR OF ADMISSION                               XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY             XX
FIRM NAME                                       Kunzler Bean & Adamson
STREET                                          50 W. Broadway 10th Floor
CITY                                            Salt Lake City
STATE                                           Utah
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY      United States
ZIP/POSTAL CODE                                 84101
PHONE                                           801-994-4646
EMAIL ADDRESS                                   mbartholomew@kba.law
CORRESPONDENCE INFORMATION
NAME                                            Michael Bartholomew
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        mbartholomew@kba.law
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   docket@kba.law
FEE INFORMATION
APPLICATION FILING OPTION                       TEAS Plus
          Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 13 of 60


NUMBER OF CLASSES                          3
APPLICATION FOR REGISTRATION PER CLASS     250
*TOTAL FEES DUE                            750
*TOTAL FEES PAID                           750
SIGNATURE INFORMATION
* SIGNATURE                                /Michael Bartholomew/
* SIGNATORY'S NAME                         Michael Bartholomew
* SIGNATORY'S POSITION                     Attorney of record, Texas Bar member
SIGNATORY'S PHONE NUMBER                   801-994-4646
* DATE SIGNED                              10/31/2022
SIGNATURE METHOD                           Signed directly within the form
                                    Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 14 of 60

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                                                                Trademark/Service Mark Application, Principal Register

                                                                                                       TEAS Plus Application

                                                                                                         Serial Number: 97655815
                                                                                                         Filing Date: 10/31/2022
To the Commissioner for Trademarks:

MARK: SS (stylized and/or with design, see mark)
The literal element of the mark consists of SS. The mark consists of Stylized 'SS' connected vertically.
The applicant, FACE CO., a limited liability company legally organized under the laws of Michigan, having an address of
   31350 Telegraph Rd., Suite 102
   Bingham Farms, Michigan 48025
   United States
   XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
International Class 003: Anti-aging cleanser; Anti-aging moisturizer; Anti-aging toner; Anti-aging creams; Non-medicated anti-aging serum;
Non-medicated cleansers, namely, skin cleansers, facial cleansers, skin toner, skin exfoliant, skin creams, skin serums; Non-medicated skin care
preparations; Skin cleansers; Wrinkle removing skin care preparations

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 003, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 02/00/2017, and first used in commerce at least as early as 02/00/2017, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Screenshots of website showing use of mark in commerce..
Specimen File1
Specimen File2
Specimen File3
Specimen File4

Webpage URL: https://theskinsaint.com/collections/new/products/clarity-3-in-1-moisturizer-1
Webpage Date of Access: 10/31/2022
Webpage URL: https://theskinsaint.com/collections/austin-creams-new
Webpage Date of Access: 10/31/2022
Webpage URL: https://theskinsaint.com/
Webpage Date of Access: 10/31/2022
Webpage URL: https://theskinsaint.com/collections/austin-creams-new/products/miracle-marine-cream
Webpage Date of Access: 10/31/2022

For specific filing basis information for each item, you must view the display within the Input Table.
International Class 005: Acne medications; Acne treatment preparations; Medicated moisturizers; Medicated skin care preparations, namely,
creams, lotions, gels, toners, cleaners and peels; Medicated skin preparation for use in treating pigmentation; Medicated anti-aging moisturizers

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.
                     Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 15 of 60


In International Class 005, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 02/00/2017, and first used in commerce at least as early as 02/00/2017, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Screenshots of website showing use of mark in commerce..
Specimen File1
Specimen File2
Specimen File3
Specimen File4

Webpage URL: https://theskinsaint.com/collections/austin-creams-new/products/miracle-marine-cream
Webpage Date of Access: 10/31/2022
Webpage URL: https://theskinsaint.com/collections/new
Webpage Date of Access: 10/31/2022
Webpage URL: https://theskinsaint.com/collections/austin-creams-new/products/clarity-3-in-1-moisturizer-1
Webpage Date of Access: 10/31/2022
Webpage URL: https://theskinsaint.com/
Webpage Date of Access: 10/31/2022

For specific filing basis information for each item, you must view the display within the Input Table.
International Class 044: Beauty consultation services; Beauty consultation services in the selection and use of cosmetics, fragrances, beauty aids,
personal care products, and bath, body and beauty products; Consulting services in the field of health; Consulting services in the field of
healthcare; Cosmetic skin care services; Laser skin rejuvenation services; Medical skin care services; Providing medical information, consultancy
and advisory services; Skin care salons; Wellness and health-related consulting services

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 044, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 02/00/2017, and first used in commerce at least as early as 02/00/2017, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Screenshot of website showing use of mark in commerce..
Specimen File1

Webpage URL: https://www.facebeautyscience.com/the-skin-saint
Webpage Date of Access: 10/31/2022




The owner's/holder's proposed attorney information: Michael Bartholomew. Michael Bartholomew of Kunzler Bean & Adamson, is a member of
the XX bar, admitted to the bar in XXXX, bar membership no. XXX, is located at
    50 W. Broadway 10th Floor
    Salt Lake City, Utah 84101
    United States
    801-994-4646(phone)
    mbartholomew@kba.law
The docket/reference number is 4192.3.40.
Michael Bartholomew submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest
court of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

The applicant's current Correspondence Information:
   Michael Bartholomew
    PRIMARY EMAIL FOR CORRESPONDENCE: mbartholomew@kba.law
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): docket@kba.law


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
                    Case 3:24-cv-04996-LJC Document 21-1 Filed 10/11/24 Page 16 of 60


the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $750 has been submitted with the application, representing payment for 3 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Michael Bartholomew/ Date: 10/31/2022
Signatory's Name: Michael Bartholomew
Signatory's Position: Attorney of record, Texas Bar member
Signatory's Phone Number: 801-994-4646
Signature method: Signed directly within the form
Payment Sale Number: 97655815
Payment Accounting Date: 10/31/2022

Serial Number: 97655815
Internet Transmission Date: Mon Oct 31 17:25:07 ET 2022
TEAS Stamp: USPTO/FTK-XX.XXX.XXX.X-20221031172508875
382-97655815-8208361e7ebcb4cc3ba23c35adb
e87170bb8b5cc1bafcd51c846cd5ec2fe4fe3-CC
-25072291-20221031172038903199
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                       UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




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Mark: SS
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Owner: CUTLER, HOLLY
Docket/Reference No. 4192.3.40

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                     Exhibit G
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Table C-5.
U.S. District Courts–Median Time Intervals From Filing to Disposition of Civil Cases Terminated, by District and Method of Disposition,
During the 12-Month Period Ending June 30, 2024

                    Total Cases                 No Court Action                                                Court Action

                                                                               Before Pretrial            During or After Pretrial                 During Trial


                            Median Time                   Median Time                   Median Time                     Median Time                         Median Time
Circuit and   Number of      Interval in    Number of      Interval in    Number of      Interval in    Number of        Interval in        Number of        Interval in
  District      Cases         Months          Cases         Months          Cases         Months          Cases           Months              Cases           Months

Total             253,312             8.1        55,508             5.6       174,183             8.0        22,049                  13.7         1,572              32.2


DC                  3,258             5.6         1,073             4.5         2,160             6.4             10                 41.0            15              44.4
     1st            6,339            17.7         1,661             5.1         3,809            33.2           803                  19.5            66              35.5
ME                   418              8.3           98              6.8          301              8.3             14                 25.5               5                  -
MA                  2,520             7.2         1,190             4.4          608              4.7           687                  19.2            35              36.8
NH                  2,231            47.9           54              3.7         2,104            49.4             68                 17.2               5                  -
RI                   502              8.0          255              9.4          229              5.9               7                   -            11              42.3
PR                   668             14.4           64              8.5          567             14.5             27                 36.0            10              35.8
     2nd           24,485             6.0         5,543             2.7        15,637             6.5         3,136                  14.6          169               48.1
CT                  1,507             8.1          316              3.8          748              6.1           425                  16.1            18              44.4
NY,N                1,340             7.6          319              3.8          760              7.8           250                  17.9            11              47.9
NY,E                7,914             5.6         2,007             2.5         5,070             6.3           786                  14.0            51              61.6
NY,S               10,927             6.3         1,946             3.1         7,298             6.1         1,603                  13.8            80              40.9
NY,W                1,741             8.6          117              4.9         1,552             8.4             65                 26.6               7                  -
VT                  1,056             2.4          838              2.3          209              5.7               7                   -               2                  -
     3rd           18,155             6.2         4,156             3.0         9,729             5.0         4,124                  12.4          146               33.8
DE                  1,382             8.4          346              2.1          895             10.3           100                  18.3            41              44.1
NJ                  7,038             7.1          317              2.4         4,357             4.2         2,330                  14.0            34              56.2
PA,E                6,210             4.3         2,270             2.7         2,911             3.6           980                  10.4            49              22.9
PA,M                1,502             9.1          663              7.2          811              9.9             20                 35.0               8                  -
PA,W                1,905             6.2          499              3.0          740              6.0           652                   9.2            14              30.6
VI                   118             16.7           61             16.1           15             17.3             42                 14.1               0                  -
     4th           12,430             7.4         2,478             5.3         8,242             6.8         1,617                  15.9            93              27.6
MD                  3,374             8.5          118              7.9         2,376             6.0           854                  30.8            26              36.4
NC,E                1,088             7.4          526              5.9          552              8.7               8                   -               2                  -



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NC,M               662    7.7      447         6.7      206       10.1         4             -    5       -
NC,W             1,141    5.6      216         3.0      631        4.9       283       12.8      11    27.2
SC               2,404    8.1      382         4.7     1,977       8.6        33       10.2      12    26.8
VA,E             2,497    5.8      709         5.2     1,375       5.1       393        8.6      20    14.5
VA,W               507    9.4       44         3.8      447       10.0         9             -    7       -
WV,N               263    9.0       13         3.6      216        8.2        27       23.4       7       -
WV,S               494   10.1       23         2.3      462       10.3         6             -    3       -
   5th          27,325    9.3     7,067        6.5    17,246       9.6      2,809      13.4      203   26.4
LA,E             6,178    9.9      614         9.1     4,657       9.5       893       13.0      14    15.4
LA,M             1,192    8.8      358         8.3      810        9.3        13       30.0      11    32.4
LA,W             3,881   14.7      407        11.5     2,808      15.1       634       15.0      32    27.2
MS,N               719    5.3      140         3.8      339        3.2       233       10.6       7       -
MS,S               960    9.2      447         8.1      479        9.4        27       19.7       7       -
TX,N             3,635    6.0      543         3.4     3,057       6.4        12        9.7      23    22.5
TX,E             2,211    7.6      696         5.7     1,461       8.2        25       60.2      29    22.5
TX,S             5,024    7.6     2,587        5.6     1,693       8.1       695       12.3      49    26.9
TX,W             3,525    7.5     1,275        6.3     1,942       7.3       277       15.3      31    32.0
   6th          12,208    8.4     3,231        4.6     6,273       7.8      2,580      14.0      124   38.0
KY,E               676    8.7      159         4.8      502        9.3         7             -    8       -
KY,W               938   10.0      133         4.2      783       10.7        15       20.5       7       -
MI,E             2,564    7.9      296         2.5     1,123       4.1      1,123      15.5      22    41.5
MI,W               884    6.5       95         2.6      548        5.2       234       12.7       7       -
OH,N             2,171    8.1      474         3.5     1,004       8.4       685       11.7       8       -
OH,S             2,134    7.9      886         5.0      942        9.2       287       15.3      19    42.9
TN,E               795   11.2      265         9.3      450       11.1        52       16.6      28    38.0
TN,M             1,275    8.0      573         5.2      523        8.7       170       12.6       9       -
TN,W               771    9.8      350         8.0      398       11.1         7             -   16    27.6
   7th          15,599    7.3     4,886        5.7     9,000       7.0      1,626      12.7      87    41.2
IL,N             8,486    6.1     3,164        5.2     4,951       6.5       329       12.8      42    44.3
IL,C               678    8.8      276         7.0      386       10.5         7             -    9       -
IL,S             1,323    9.4      994         8.9      320       11.9         5             -    4       -
IN,N             1,313    8.7       56         2.8      916        7.5       335       15.9       6       -
IN,S             2,262    9.4       50         1.9     1,460       7.1       743       11.9       9       -
WI,E               992    6.4      148         3.0      810        7.1        21       17.0      13    39.9
WI,W               545    6.5      198         3.0      157        6.0       186       12.0       4       -
   8th           8,261    7.5     3,273        5.5     4,313       7.8       597       13.0      78    33.4
AR,E               811   10.2      329        13.2      469        7.6         1             -   12    34.5
AR,W               499   10.1       31         6.5      416        9.5        43       12.5       9       -




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IA,N               249       7.2        88        8.5      157        6.6         0             -    4       -
IA,S               360       7.6       153        7.6      196        6.8         3             -    8       -
MN               2,487       7.5      1,472       4.5      471        8.6       528       12.8      16    42.2
MO,E             1,458       6.1       416        3.5     1,030       7.4         4             -    8       -
MO,W             1,468       6.8       534        5.7      918        7.3         7             -    9       -
NE                 502       7.1       143        3.8      343        7.8        10       33.3       6       -
ND                 179      11.0         6          -      171       11.5         0             -    2       -
SD                 248      11.7       101       12.3      142       10.0         1             -    4       -
       9th      35,416       6.0      9,944       3.9    23,211       6.4      1,936      16.0      325   31.3
AK                 242       8.0        11        2.5      227        8.2         1             -    3       -
AZ               2,226       7.2       107        1.8     1,755       6.3       330       15.6      34    32.0
CA,N             4,562       7.6      2,131       5.3     1,657       8.5       743       15.7      31    35.8
CA,E             2,568       9.5       862        7.0     1,639      10.6        55       21.2      12    33.8
CA,C            15,076       3.9      4,415       3.1    10,446       4.4        85       27.5      130   26.7
CA,S             2,236       6.6       723        4.1     1,032       6.6       463       13.2      18    33.7
HI                 587       5.0       217        4.7      348        4.8         9             -   13    39.2
ID                 360      11.0        21        3.5      284       10.4        52       25.0       3       -
MT                 377      10.4       127        5.7      132        7.6       112       14.6       6       -
NV               2,124       9.2       421        7.2     1,622       9.3        62       19.6      19    54.2
OR               1,614      11.0       290        5.4     1,297      12.0         3             -   24    31.2
WA,E               725       7.6        93        5.5      627        7.7         1             -    4       -
WA,W             2,665       6.3       510        3.4     2,118       7.0        11       17.5      26    27.6
GU                     39   44.2         5          -       26       60.0         8             -    0       -
NMI                    15   13.6        11        8.3        1          -         1             -    2       -
  10th           7,658       8.0      1,826       5.8     5,067       7.9       676       16.1      89    27.5
CO               2,684       7.5       611        7.1     1,961       6.7        66       25.1      46    30.6
KS                 900       7.1       207        5.6      615        6.9        65       18.5      13    25.2
NM                 933       8.6       122        3.6      511        7.0       297       14.7       3       -
OK,N               465       8.8        38        4.6      427        9.5         0             -    0       -
OK,E               379      10.5        14        2.6      358       10.8         3             -    4       -
OK,W             1,038       7.4       480        5.1      380        8.7       171       12.1       7       -
UT               1,065       9.3       268        7.3      775        9.7        12       39.0      10    35.4
WY                 194       9.4        86        5.4       40        4.1        62       13.9       6       -
  11th          82,178      14.0     10,370      39.9    69,496      10.7      2,135      11.3      177   26.6
AL,N             1,291       8.1       141        2.8     1,138       8.9         4             -    8       -
AL,M               526      10.7        23        2.4      488       10.8        10       19.6       5       -
AL,S               399       9.6        61        6.7      324        9.6         5             -    9       -
FL,N            57,929      32.5      8,407      42.1    49,506      29.2         2             -   14    17.4




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FL,M                   6,999               5.3             107                4.6            6,510                5.0             348                14.0               34               27.3
FL,S                   7,550               3.5             672                3.0            6,753                3.5               70                8.2               55               17.1
GA,N                   6,234               5.4             674                3.0            3,825                3.6            1,688               10.9               47               31.5
GA,M                     663               7.7             245                6.7              408                8.2                6                   -               4                   -
GA,S                      587               6.7             40              3.6            544                 7.0                2                    -                1                    -
NOTE: Median time intervals are not computed when fewer than 10 cases reported. This table excludes land condemnations, prisoner petitions, deportation reviews, recovery of
overpayments, and enforcement of judgments. Includes cases filed in previous years as consolidated cases that thereafter were severed into individual cases. For fiscal years prior to 2001,
this table included data on recovery of overpayments and enforcement of judgments.




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